Case 6:23-cv-02043-JSS-RMN Document 1-2 Filed 10/23/23 Page 1 of 11 PagelID 21

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Colby Gmail
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é

Post

Rep. Randy Fine
@VoteRandyFine

| just got jumped by a Nazi with a camera walking into a widely publicized
speaking event just now. I'm fine; not sure today will go down as one of
his better days.

11:26 AM - Oct 4, 2023 from Cocoa, FL - 8,002 Views

© 50

Ll 8

Post your reply

© 23

Vanessa Brito@ @\VanessaBritoMia - Oct 5

“And | did not speak out
Because | was not a Jew
Then they came for me
And there was no one left
To speak out for me.”

QO tl

Nik @Angry Sociology - Oct 5

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167

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4

"Why do the Nazis keep showing up to my events to show their support?"

Oo ti

Cheryl (Emo is Gov Funded) § 7 3%

03

AntiSheeple @antish33pl3 - Oct 4
42 BD I\'m sure that was just a quick warm up for things to come if our
mighty warrior @realDonaldTrump gets elected.

Oo a

O 2

ili 112

w @CherylCWS1 - Oct 4

Tycoon (Hangin Around) @Tyc@m - Oct 5

Fake
QO ma

04

Judy Ellis @JudyWhaleCove - Oct 4
Welcome to the state you helped create,

And it’s only going to get worse.

2 ta

In Black And White @black47193 -

Define jumped.

oO a

https://twitter.com/VoteRandyFine/status/1709590805084557383

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QO s

Oct4

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Rep. Randy Fine
@VoteRandyFine
State Rep, Brevard ¢
and father of two bc
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Brevard Drag Queer
organizer

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NFL - Yesterday
Giants at Dolphins

Trending in United States
National Academy of Medi

Politics - Trending
#lsraelPalestineWar

498K posts

Gaming - Trending
Mario Kart 8

Trending in United States
#DOBBY

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10/9/23, 120ASR 6:23 GY RA OdRnd osc FROME, nEXOGibHTAalit bagon File bhch Weed/ aah, fdoQOAs Si PlishderP RGA An? Rollering on...

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@evilsupernatZ

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Rep. Randy Fine zis
@VoteRandyFine

Clearly, he couldn't take it one on one, because as | left, four of his
friends were hooting and hollering on the street corner. | got pictures,

though being the cowards they are, most were masked. Relevant people
Rep. Randy Fine @VoteRandyFine - Oct 4 Rep. Randy Fine
| just got jumped by a Nazi with a camera walking into a widely publicized @VoteRandyFine
ee event just now. I'm fine; not sure today will go down as one of his State Rep, Brevard (
eller days: and father of two bc
f@&$ing marketing :
2:26 PM - Oct 4, 2023 from Hlorida, USA - 24.7K Views Brevard Drag Queer
organizer
© 18 th2 O [| 2 3,
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NFL - Yesterday
Giants at Dolphins

Vanessa Brito@ @VanessaBritoMia - Oct 5 ++

Sounds like this past Legislative Session “2? “2? “7
Politics - Trending

QO 2 QO hi 140 & #IsraelPalestineWar
496K posts

Jonathon Maldonado @JonnyCigar4@7 - Oct 4

Tell your boy to help you. Gaming - Trending
Mario Kart 8

Trending in United States
National Academy of Medi

Technology « Trending

iPhones
52.1K posts

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Oo a O05 hi 503 a:
langford §) © @SEjG) 0 @ © Glangfordresist - Oct 4

Desadness people. Your people.

01 te 0 1 ht 226 &
Lynne MarGreen#BlockEveryAd @LynneMargreen - 19h

Film at 11.

oO tl oO it 8 4,

Claire Lee @WhiterGertrude - Oct 5
Funny thing is YOU have sent your non-Jew Israeli flag wavers to jump a

https://twitter.com/VoteRandyFine/status/1709636141157171379 1/2
10/9/23, 1268 6:23-CV-02043-JSS5RMIN rikbecKkmert 4 p2 of URE AAL Aiea mMPAGEIkOEn Wage lD 24
xX ¢ Post Q Search

Rep. Randy Fine iss

Home @VoteRandyFine Relevant people
Here's a pic of the Nazi who jumped me. Rep. Ratidy Fine

@VoteRandyFine

State Rep, Brevard (

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f@&$ing marketing :
Brevard Drag Queen

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Mario Kart 8

Politics - Trending
Israel-Hamas
2.94M posts

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Frost

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@evilsupernatZ

Rep. Randy Fine @VoteRandyFine - Oct 4
Clearly, he couldn't take it one an one, because as | left, four of his friends
were hooting and hollering on the street corner. | got pictures, though being
the cowards they are, most were masked. twitter.com/voterandyfine/...

2:48 PM - Oct 4, 2023 - 26.8K Views

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https://twitter.com/VoteRandyFine/status/1 70964 1543445787095 1/3
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tl Rep. Randy Fine reposted

Florida’s Voice @
@FLVoiceNews

Rep. @VoteRandyFine says he was “jumped” by a member of an
antisemitic group on his way to an event

6:45 PM - Oct 4, 2023 - 2,622 Views

vt

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yO

Post your reply

50Seth @FiftySeth - Oct 4
desanyis hasnt said a word about the local nazis.
nota word.

QO 2 tl 1 02 lt 83
Cheryl (Emo is Gov Funded) § 7 95 \y @CherylCWS1- Oct 4

Boy Who Cried Wolf
Is that book banned in Florida?

QO tli oO B it 101

Bill Justice @workinstigf - Oct 5
How do you know he was a Nazi?

oO ta O 2 i 35

Reichfrog Von Pepe @reichfrog - Oct 5

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it

He wasn't jumped, the GDL has the video and will release it, he is just lying

as always.

QO ti Oo 1 ili 20
Helen Herne @HelenHerne : Oct 5

Couldn’t have happened to someone more deserving ~~

QO to 01 ili 48
Joe Boochman'? @joeboochman - Oct 4

reap what you sow

01 ta O86 ly 106

Crafty Feminist > @CraftyFeminist - Oct 4

t

(>

b

This is the environment he, DeSantis, and you have created in this state. It

was only a matter of time.

O14 1 0 4 ha 145

https://twitter.com/FLVoiceNews/status/17097012598 19647463

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Florida’s Voice &
@FLVoiceNews
Florida's Voice is dex
honest political repc
minus the mainstre<

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organizer

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NFL - Yesterday
Giants at Dolphins

Trending in United States
National Academy of Medi

Politics - Trending
#\israelPalestineWar

477K posts

Gaming - Trending
Mario Kart 8

Technology - Trending
iPhones
52.5K posts

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Rep. Randy Fine ote

@VoteRandyFine Relevant people
Here’s the Nazi’s background! Already being prosecuted for one violent Rep. Randy Fine
felony. Suchlosers. Mom must not have hugged him enough. @VoteRandyFine
canarymission.org/individual/Col... State Rep, Brevard (

and father of two bc
f@&$ing marketing :
Brevard Drag Queer
organizer

Rep. Randy Fine @VoteRandyFine - Oct 4
Here's a pic of the Nazi who jumped me. twitter.com/voterandyfine/..

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Cowboys at 49ers

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AS8K posts

Politics - Trending
Israel-Hamas

2.94M posts

Gaming - Trending

Mario Kart 8

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8:42 AM - Oct 5, 2023 from Tampa, FL - 4,720 Views

© 34 Tl 5 Os [i a
Post your reply
lanMichael& @lanMichaeli326 - Oct 6
Sir, that’s the FBI you’re talking to.
QO Tl O 2 il 42 a,
Cleft Habitus @CleftHabitus - Oct 5
what did you do to provoke him though?
Oo tf 9 1 i 55 &

Scooter McGee @ScooterMcGee99 - Oct 5 oo
Looks like he practiced free speech—well, it was free until DeSantis

https://twitter.com/VoteRandyFine/status/1709912029358633343 1/4
10/9/23, 122A 6:23-46ay-RAAP And Soc RMN naa BaRGiodrd2airEahechiddhedbeida td? AG GicleMfebdy. Rag @Yets2Mom must n...

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Colby Gmail
@evilsupernatZ

criminalized it at your urging.

Oo ta O 2 la 116 fh

GOPMominCocoa ©Conserv/8930736 - Oct 6

So why give him all the attention? Had you ignored him, walked by said
nothing , who would have even known? And all his efforts would have been
for nothing. Instead seems like you had the news there waiting for the
whole thing to be captured for the press job.

cS tl 9° ili 6 a,
Jim Crow @JIM_CROW - Oct 5

What a sensitive little jew.

OQ n QO 14 ily 102 &
Tom Maybe they commit more crimes... @ParisPunis35...-Oct5 ---
Oo a O7 tht 136 i

SuredeathHellman @SuredeathH55331 - Oct 5

I'm a National Socialist also, | have one simple question. How do you
rationalize the United States siding with Stalin, Mao, and Kim II Sung
literally setting up your most dangerous opponents?

Even General Patton realized we should have taken Germany's offer of
friendship.

https://twitter.com/VoteRandyFine/status/1709912029358633343

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2.94M posts

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@evilsupernatZ

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Rep. Randy Fine wee

@VoteRandyFine Relevant people
"Somebody’s going to get hurt if this continues, and | assure you —it Rep. Randy Fine
won't be me," Fine concluded. @VoteRandyFine

State Rep, Brevard (
and father of two bc
f@&$ing marketing :
Brevard Drag Queer
organizer

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Cowboys at 49ers

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National Academy of Medi
7:52 PM - Oct 5, 2023 from Indialantic, FL - 1,699 Views
Politics - Trending
Israel-Hamas

13 5 "1 7.
o ts 9° WN = 2.95M posts
Gaming - Trending
Post your repli ° 7
y ey Mario Kart 8
Politics - Trending
Mary X@ @TheCrownUp - Oct 6 “ee #HamastTerrorists
This chilling incident is a stark reminder of the dangers posed by neo- 155K posts

o

Nazism, and the lengths to which these groups are willing to go to silenc
their opponents. But the politician's resolve to continue speaking out

% 3 ee te Show more
against hate is an inspiration to us all.

We must not allow... Terms of Service Privacy Policy
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O1 n oO ila 68 a

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Scottie BigBalls @ScottieBigBalls - Oct 5

Doubt. Talk is cheap jew

2 a @5 ili 89 a4
GOPMominCocoa @Conserv/8939736 - Oct 6 “

Why is it ok for you to advocate for hurting and shooting citizens because
you don't agree with their speech?

oO tl @ 1 it 12 &

Shelley Rodden @coolmomi239 - Oct 5
Could you have had them trespassed?

oO tl Qo il 95 a
conifer @conofertrad - Oct 6

Is this similar to how you treat the LGBT community?

QO tf O 3 ii 52 a

Orwell on his iPhone @thegistofitis - Oct 5

No one cares, Randy.

Literally no one.

Nazis? They wore Hugo Boss and many would be considered LGBTQ
nowadays

Himmler, Rommel abs Goring all most likely

https://twitter.com/VoteRandyFine/status/1710080470468407652 1/2
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Rep. Randy Fine
@VoteRandyFine

6:00 PM - Oct 6, 2023 from Indialantic, FL - 8,229 Views

£17 © 2 A

Post your reply

Michelle Salzman@ @michellesalzman - Oct 6
Dude, I'll handle your light weight...

O14 tl O4 ili

Rep. Randy Fine @VoteRandyFine - Oct 6
I'd put you with the heavy weight! Love you, Chair!
QO 1 ti QO 3 hi

Show replies

Brendon Leslie@ @BrendonLeslie - Oct 6

OQ a 2 lu
DeSantis Appreciation Society @KickboxerEsg - Oct 6
Badass Randy Fine

© 2 ta OD 2 ha
Joseph Welch VI @McgloopHcop - Oct 6

| handle him before breakfast.

oO a oO hi

William Whitehead @Judicial Notes - Oct 7
Anti-White Jew

QO ta O6 i 6

Suzie Q Sunshine @suzieQJacobs - Oct 6

361

307

As the saying goes, sometimes you gotta fight fire with fire..

© 2 tT O 2 il

Richie Newport @richienewporti - Oct 7

https://twitter.com/VoteRandyFine/status/1710414683235090543

251

The Nazis have released a two second clip from my ambush earlier this
week, thinking it makes them look good. | don’t think I’ve ever sounded
more eloquent.

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Rep. Randy Fine
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494K posts

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Lebanon
176K posts

Politics - Trending
Gaza

927;

3.67M posts

Gaming - Trending
Mario Kart 8

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tl Rep. Randy Fine reposted

Esther Bower
@estherbower tv

Nazi demonstrators crashed a Women’s Republican Event at the Space
Coast Convention Center. Before that, they stalked + harassed Rep.
Randy Fine - the keynote speaker. @fox35orlando is looking into what
happened + new legislation you could see from the state rep. because of

Relevant people

Esther Bower

this @estherbowertv
Servant of Jesus. St:
«ate S — @fox35
— Love (spicy) Food
Fostering Hope & Jo
DM me story ideas!
FOX 35 Orlando &
@fox35orlando
Official FOX 35 Orla
account for breakin;
politics, sports and
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2:38 PM - Oct 5, 2023 from Cocoa, FL - 1,015 Views Giants at Dolphins
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Trending in United States
National Academy of Medi
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494K posts
Colby Gmail @evilsupernatZ - Oct 5
@estherbower tv | want to get an interview with you and explain my side of Gaming - Trending
the story. | am a deeply concerned White civil rights advocate! Mario Kart 8
1 2 aa
o a _ il 24 Trending in United States
. $PLTR
Colby Gmail @evilsupernatZ - Oct 5 : 1ATG posts
| would like to sit down with you for an interview | am actually trying to get
a debate with @VoteRandyFine and his allegations are completely false.
Show more

Live footage of the encounter will be released Monday, Oct 9th, 9PM by
Handsome Truth exclusively at goyimtv.com

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O tl 9 la 26 Accessibility Adsinfo More+
Kathryn Smith@® @Whippetartist - Oct 5

Suspect those are paid Dem activist attempting to disrupt Republican

women's event, Dem activists paid to stalk, harass, cause chaos blocking

Republican's Right to Assemble. Do search of "The Enabling Act" used

WWII Germany to blocks rights.

oO ti go ili 39 &

robdoz45 @robdoz45 - Oct 5
Jews are a bunch of rats who hate freedom of speech

QO ti ° ld 21 &
Jill @blukesmom- Oct 5
Thank you Ron and Don
> nn 9 it 23 i

https://twitter.com/estherbower_tv/status/1710001479157752121 1/2
10/9/23, 1S BR 6:23-GMnQRRA ad SA FRM Nesdhes Mose EHudive righted a Phar 2esiahaGRribas Chi bina Ged ey Republican vee

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Ron Filipkowski & ace
@RonFilipkowski

Ron Desantis’s most repulsive right-wing ally in the legislature, Florida's
only Jewish elected Republican Randy Fine, says he was “jumped” today
by antisemitic white nationalists in his district.

7:31 PM - Oct 4, 2023 - 215.4K Views

{>

© 266 tl 478 © 1604 {] 19

Post your reply

StopAntisemitism@ @StopAntisemites - Oct 5 =
Meet Colby “Ace” Alexander Frank, a member of the white supremacist
group 'Goyim Defense League’ or GDL.

He was recently arrested (resisted arrest) and chose to confront Randy
Fine for introducing HB269 legislation in Florida which criminalizes
antisemitic (and other minority)...

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On ta 5 0 53 ilu 6,830

Kathryn Smith@® @Whippetartist - Oct 5

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https://twitter.com/RonFilipkowski/status/1709712988431626749

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Ron Filipkowski @
@RonFilipkowski
Editor-in Chief Meid
host Uncovered, Att
Former Federal and
Republican Party In:
Escapee

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